                           Case:15-05375-swd               Doc #:84 Filed: 10/07/18                Page 1 of 4
                                               United States Bankruptcy Court
                                               Western District of Michigan
In re:                                                                                                     Case No. 15-05375-swd
Jill A. Malusek                                                                                            Chapter 13
John J. Malusek
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0646-1                  User: parentka                     Page 1 of 1                          Date Rcvd: Oct 05, 2018
                                      Form ID: pdf017                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 07, 2018.
db/db          +Jill A. Malusek,   John J. Malusek,   3806 Cornice Falls Drive,   Apt. 3,   Holt, MI 48842-8809

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 07, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 4, 2018 at the address(es) listed below:
              Barbara P. Foley    ecf@chpt13.com, chpt13@yahoo.com
              Craig B. Rule    on behalf of Creditor    Mortgage Center LC F/K/A Mortgage Center LLC
               bankruptcyMW@orlans.com, anhsom@gmail.com;ANHSOA@4stechnologies.com
              Elizabeth M. Abood-Carroll    on behalf of Creditor    Mortgage Center LC F/K/A Mortgage Center LLC
               bankruptcyMW@orlans.com, ANHSOA@4stechnologies.com;anhsoa@gmail.com
              Ronald A. Zawacki    on behalf of Debtor Jill A. Malusek Zawackilaw@yahoo.com
              Ronald A. Zawacki    on behalf of Debtor John J. Malusek Zawackilaw@yahoo.com
              Ryan Byrd     on behalf of Creditor    Mortgage Center LC F/K/A Mortgage Center LLC
               bankruptcy@orlans.com, ANHSOA@4stechnologies.com;anhsoa@gmail.com
                                                                                              TOTAL: 6
             Case:15-05375-swd           Doc #:84 Filed: 10/07/18          Page 2 of 4




                            81,7('67$7(6%$1.5837&<&2857
                             :(67(51',675,&72)0,&+,*$1


,QUH                                                      &DVH1R'/
          -,//$0$/86(.
          -2+1-0$/86(.
                   'HEWRUV


          &+$37(567$1',1*75867((¶6),1$/5(3257$1'$&&2817

       %DUEDUD3)ROH\FKDSWHUWUXVWHHVXEPLWVWKHIROORZLQJ)LQDO5HSRUWDQG$FFRXQWRI
WKHDGPLQLVWUDWLRQRIWKHHVWDWHSXUVXDQWWR86&E7KHWUXVWHHGHFODUHVDV
IROORZV

           7KHFDVHZDVILOHGRQ

           7KHSODQZDVFRQILUPHGRQ

        7KHSODQZDVPRGLILHGE\RUGHUDIWHUFRQILUPDWLRQSXUVXDQWWR86&RQ


       7KHWUXVWHHILOHGDFWLRQWRUHPHG\GHIDXOWE\WKHGHEWRULQSHUIRUPDQFHXQGHUWKHSODQ
RQ1$

           7KHFDVHZDVFRPSOHWHGRQ

           1XPEHURIPRQWKVIURPILOLQJWRODVWSD\PHQW

           1XPEHURIPRQWKVFDVHZDVSHQGLQJ

           7RWDOYDOXHRIDVVHWVDEDQGRQHGE\FRXUWRUGHU1$

           7RWDOYDOXHRIDVVHWVH[HPSWHG

           $PRXQWRIXQVHFXUHGFODLPVGLVFKDUJHGZLWKRXWSD\PHQW

           $OOFKHFNVGLVWULEXWHGE\WKHWUXVWHHUHODWLQJWRWKLVFDVHKDYHFOHDUHGWKHEDQN 




867)RUP)56
            Case:15-05375-swd           Doc #:84 Filed: 10/07/18                    Page 3 of 4



5HFHLSWV

       7RWDOSDLGE\RURQEHKDOIRIWKHGHEWRU                
       /HVVDPRXQWUHIXQGHGWRGHEWRU                            

1(75(&(,376                                                                                         


([SHQVHVRI$GPLQLVWUDWLRQ

    $WWRUQH\¶V)HHV3DLG7KURXJKWKH3ODQ                                  
    &RXUW&RVWV                                                                
    7UXVWHH([SHQVHV	&RPSHQVDWLRQ                                        
    2WKHU                                                                      
727$/(;3(16(62)$'0,1,675$7,21                                                                       

$WWRUQH\IHHVSDLGDQGGLVFORVHGE\GHEWRU                   


6FKHGXOHG&UHGLWRUV
&UHGLWRU                                        &ODLP            &ODLP            &ODLP            3ULQFLSDO       ,QW
1DPH                                &ODVV    6FKHGXOHG         $VVHUWHG          $OORZHG             3DLG         3DLG
$0(5,&5(',7),1$1&,$/6(59      6HFXUHG                                 
%$1.2)$0(5,&$                 8QVHFXUHG                                   
%(&.(7	/((//3                8QVHFXUHG                                   
&20(1,7<&$3,7$/%$1.3$<3$/   8QVHFXUHG                                   
-2851(<&5(',781,21            8QVHFXUHG                        1$                1$                    
-2851(<)('(5$/&5(',781,21    6HFXUHG                                    
-2851(<)('(5$/&5(',781,21    8QVHFXUHG                                  
-2851(<)('(5$/&5(',781,21    8QVHFXUHG                                  
-2851(<)('(5$/&5(',781,21    6HFXUHG                  1$                                   
-2851(<)('(5$/&5(',781,21    6HFXUHG                                      
0257*$*(&(17(5/&              6HFXUHG                                           
0257*$*(&(17(5/&              6HFXUHG                                          
0257*$*(&(17(5/&              6HFXUHG                                      
0257*$*(&(17(5//&             6HFXUHG                  1$                                   
0257*$*(&(17(5//&             6HFXUHG                                      
068)('(5$/&5(',781,21        8QVHFXUHG                                  
3257)2/,25(&29(5<$662&        8QVHFXUHG                                   
3257)2/,25(&29(5<$662&        8QVHFXUHG                                        
86%$1..52*(5              8QVHFXUHG                       1$                1$                    
:<1'+$09$&$7,215(62576        6HFXUHG                         1$                1$                    




867)RUP)56
            Case:15-05375-swd            Doc #:84 Filed: 10/07/18            Page 4 of 4



 6XPPDU\RI'LVEXUVHPHQWVWR&UHGLWRUV
                                                               &ODLP           3ULQFLSDO           ,QWHUHVW
                                                             $OORZHG               3DLG               3DLG
 6HFXUHG3D\PHQWV
       0RUWJDJH2QJRLQJ                                                         
       0RUWJDJH$UUHDUDJH                                                              
       'HEW6HFXUHGE\9HKLFOH                                               
       $OO2WKHU6HFXUHG                                                                   
 727$/6(&85('                                                            

 3ULRULW\8QVHFXUHG3D\PHQWV
        'RPHVWLF6XSSRUW$UUHDUDJH                                                         
        'RPHVWLF6XSSRUW2QJRLQJ                                                           
        $OO2WKHU3ULRULW\                                                                 
 727$/35,25,7<                                                                           

 *(1(5$/816(&85('3$<0(176                                                   


'LVEXUVHPHQWV

         ([SHQVHVRI$GPLQLVWUDWLRQ                           
         'LVEXUVHPHQWVWR&UHGLWRUV                           

727$/',6%856(0(176                                                                       


        7KHWUXVWHHFHUWLILHVWKDWSXUVXDQWWR)HGHUDO5XOHRI%DQNUXSWF\3URFHGXUH
WKHHVWDWHKDVEHHQIXOO\DGPLQLVWHUHGWKHIRUHJRLQJVXPPDU\LVWUXHDQGFRPSOHWHDQGDOO
DGPLQLVWUDWLYHPDWWHUVIRUZKLFKWKHWUXVWHHLVUHVSRQVLEOHKDYHEHHQFRPSOHWHG 7KHWUXVWHH
UHTXHVWVDILQDOGHFUHHEHHQWHUHGWKDWGLVFKDUJHVWKHWUXVWHHDQGJUDQWVVXFKRWKHUUHOLHIDVPD\
EHMXVWDQGSURSHU

'DWHG                              %\V%DUEDUD3)ROH\
                                                                          7UXVWHH

67$7(0(177KLV8QLILHG)RUPLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ
$FWH[HPSWLRQ&)5DDSSOLHV




867)RUP)56
